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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




    JAMES LEE,                            CV 20-416 DSF (JEMx)
        Plaintiff,
                                          Order to Show Cause re
                      v.                  Dismissal

    SAKURA OF TOKYO INT’L
    CORP.,
        Defendant.



       On August 7, 2020, Plaintiff filed a motion for default judgment.
    The motion has two defects that must be corrected before judgment
    could be entered. On October 5, 2020, the Court issued its Order re
    Motion for Default Judgment advising Plaintiff of the defects and the
    necessity of correcting them. The Court granted Plaintiff until October
    19, 2020 to cure the defects by submitting a supplement to the motion
    or the motion would be denied. No supplement has been submitted. To
    conserve judicial resources and ensure that this matter is resolved in a
    timely manner, the Court now issues this Order to Show Cause re
    Dismissal.

       Plaintiff may avoid dismissal by supplementing his motion no later
    than November 23, 2020 to establish a reasonable probability that he
    would return to this Defendant’s business. Failure to do so will result
    in dismissal for failure to prosecute and failure to establish his claim.
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    Failure to comply with the Court’s Order re Fees will result in denial of
    the request for fees.

          IT IS SO ORDERED.

    Date: November 9, 2020                  ___________________________
                                            Dale S. Fischer
                                            United States District Judge




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